            Case 4:15-cv-03504-YGR Document 301-2 Filed 06/20/17 Page 1 of 6



 1   Enu Mainigi (Pro Hac Vice)
     F. Lane Heard (Pro Hac Vice)
 2   Grant A. Geyerman (Pro Hac Vice)
     WILLIAMS & CONNOLLY LLP
 3   725 Twelfth Street, NW
     Washington, DC 20005
 4   Telephone: (202) 434-5000
     Facsimile: (202) 434-5029
 5
     Edward W. Swanson (State Bar No. 159859)
 6   August Gugelmann (State Bar No. 240544)
     SWANSON & McNAMARA LLP
 7   300 Montgomery Street, Suite 1100
     San Francisco, CA 94104
 8   Telephone: (415) 477-3800
     Facsimile: (415) 477-9010
 9
     Attorneys for CVS Pharmacy, Inc.
10

11

12
                               UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14
                                        OAKLAND DIVISION
15

16     CHRISTOPHER CORCORAN, et al.,             No. 15-CV-03504-YGR
17                                 Plaintiffs,   CLASS ACTION
18                   v.                          DECLARATION OF GRANT A.
                                                 GEYERMAN IN SUPPORT OF
19     CVS PHARMACY, INC.                        DEFENDANT’S OPPOSITION TO
                                                 PLAINTIFFS’ AMENDED MOTION FOR
20                                 Defendant.    CLASS CERTIFICATION
21

22

23

24

25

26

27

28
            Case 4:15-cv-03504-YGR Document 301-2 Filed 06/20/17 Page 2 of 6



 1          I, Grant A. Geyerman, make the following Declaration based on personal knowledge of
 2   the matters set forth herein. I am a partner at Williams & Connolly LLP, counsel to Defendant
 3   CVS Pharmacy, Inc. (“CVS”) in this matter. I submit this declaration in support of CVS’s
 4   Opposition to Plaintiffs’ Amended Motion for Class Certification (“Motion”). If called upon, I
 5   could and would testify competently to the following:
 6           A.     Defense Exhibits
 7          1.     Exhibit DX-080 is a true and correct copy of a Health Savings Pass (“HSP”)
 8   enrollment form, produced by CVS with Bates No. CVSC-0000177.
 9          2.     Exhibit DX-264 is a true and correct copy of an email from Roderick Bergin to
10   Tina L. Egan regarding “FW: Medco U&C-please pass to MEDCO legal,” sent on April 30, 2009
11   and produced by CVS with Bates No. CVSC-0386102.
12          3.     Exhibit DX-265 is a true and correct copy of a letter from C. Calvin Corum to Tina
13   L. Egan, J.D., dated April 30, 2009 and produced by CVS with Bates No. CVSC-0356466.
14          4.     Exhibit DX-321 is a true and correct copy of the Declaration of Joseph C.
15   Zavalishin dated February 22, 2017.
16          5.     Exhibit DX-346 is a true and correct copy of a spreadsheet titled Active Plans 11-
17   01-11.xlsx and produced by CVS with Bates No. CVSC-0391362.
18          6.     Exhibit DX-400 is a true and correct copy of the transcript of the Deposition of
19   William John Barre that was taken on November 17, 2016.
20          7.     Exhibit DX-403 is a true and correct copy of the transcript of the Deposition of
21   John Martin Lavin that was taken on January 5, 2017.
22          8.     Exhibit DX-406 is a true and correct copy of the transcript of the Deposition of
23   William Strein that was taken on December 12, 2016.
24          9.     Exhibit DX-407 is a true and correct copy of the transcript of the Deposition of
25   Joseph Zavalishin that was taken on April 14, 2017.
26          10.    Exhibit DX-408 is a true and correct copy of the December 9, 2016 Report of Brett
27   E. Barlag on Behalf of CVS Pharmacy, Inc.
28          11.    Exhibit DX-409 is a true and correct copy of the January 27, 2017 Rebuttal Report
                                                                DECLARATION OF GRANT A. GEYERMAN
                                                   -1-                              15-CV-03504-YGR
            Case 4:15-cv-03504-YGR Document 301-2 Filed 06/20/17 Page 3 of 6



 1   of Brett E. Barlag on Behalf of CVS Pharmacy, Inc.
 2          12.     Exhibit DX-410 is a true and correct copy of the Expert Report of Catherine Graeff,
 3   dated December 9, 2016.
 4          13.     Exhibit DX-412 is a true and correct copy of the Expert Report of John D. Jones,
 5   BS Pharm, JD, FAMCP, dated December 9, 2016.
 6          14.     Exhibit DX-414 is a true and correct copy of the Rebuttal Expert Report of John D.
 7   Jones, BS Pharm, JD, FAMCP, dated January 27, 2017.
 8          15.     Exhibit DX-415 is a true and correct copy of the Expert Report of Edward G.
 9   McGinley, RPh MBA, dated December 9, 2016.
10          16.     Exhibit DX-416 is a true and correct copy of the Rebuttal Expert Report of Edward
11   G. McGinley, RPh MBA, dated January 27, 2017.
12          17.     Exhibit DX-418 is a true and correct copy of the Expert Report of Dr. Michael P.
13   Salve, dated December 9, 2016.
14          18.     Exhibit DX-419 is a true and correct copy of the Expert Report of Dr. Itamar
15   Simonson, dated December 9, 2016.
16          19.     Exhibit DX-420 is a true and correct copy of the Expert Report of Pamela L. Wyett,
17   dated December 9, 2016.
18          20.     Exhibit DX-421 is a true and correct copy of the Rebuttal Expert Report of Pamela
19   L. Wyett, dated January 27, 2017.
20          21.     Exhibit DX-422 is a true and correct copy of the Rebuttal Expert Report of Dr.
21   Donald Yett.
22          22.     Exhibit DX-423 is a true and correct copy of excerpts from the transcript of the
23   Deposition of CVS Pharmacy, Inc.’s 30(b)(6) Representative, Hilary Dudley, that was taken on
24   September 20, 2016.
25          23.     Exhibit DX-425 is a true and correct copy of the Declaration of Susan Colbert in
26   Support of Defendant’s Opposition to Motion for Class Certification, dated November 21, 2016.
27          24.     Exhibit DX-426 is a true and correct copy of the Declaration of Susan Colbert in
28   Support of Defendant’s Motion for Summary Judgment dated June 2, 2017.
                                                                  DECLARATION OF GRANT A. GEYERMAN
                                                    -2-                               15-CV-03504-YGR
            Case 4:15-cv-03504-YGR Document 301-2 Filed 06/20/17 Page 4 of 6



 1          25.     Exhibit DX-441 is a true and correct copy of an HSP enrollment form, produced by
 2   CVS with Bates No. CVSC-0227247.
 3          26.     Exhibit DX-448 is a chart created by counsel excerpting the U&C Definitions and
 4   Third-Party Beneficiary Provisions from certain CVS-PBM Contracts.
 5          27.     Exhibit DX-456 is a composite exhibit created by counsel showing the dates of,
 6   and testimony regarding, Plaintiffs’ continued patronage of CVS pharmacies, to which a true and
 7   correct copy of prescription records and deposition excerpts are attached.
 8          28.     Exhibit DX-508 is a true and correct copy of the Plaintiffs’ Omnibus Supplemental
 9   Responses and Objections to CVS’s Second Set of Interrogatories (June 13, 2017).
10          29.     Exhibit DX-509 is a true and correct copy of Plaintiff Tyler Clark’s prescription
11   records produced by Plaintiff Clark at CVSTCLAR-00000012.
12          30.     Exhibit DX-510 is a true and correct copy of the Declaration of Brett E. Barlag,
13   dated June 20, 2017.
14          31.     Exhibit DX-511 is a true and correct copy of excerpts from the transcript of the
15   Deposition of Joel W. Hay that was taken on June 16, 2017.
16          32.     Exhibit DX-512 is a composite exhibit created by counsel showing Plaintiffs’
17   testimony on certain subject matters in the case.
18          33.     Exhibit DX-513 is a composite exhibit created by counsel showing Plaintiffs’
19   testimony on the circumstances concerning their involvement in the lawsuit.
20          34.     Exhibit DX-514 is a true and correct copy of excerpts from the transcript of the
21   Deposition of Zulema Avis that was taken on August 5, 2016.
22          35.     Exhibit DX-515 is a true and correct copy of excerpts from the transcript of the
23   Deposition of Deborah Barrett that was taken on September 16, 2016.
24          36.     Exhibit DX-516 is a true and correct copy of excerpts from the transcript of the
25   Deposition of Tyler Clark that was taken on October 26, 2016.
26          37.     Exhibit DX-517 is a true and correct copy of excerpts from the transcript of the
27   Deposition of Robert Garber that was taken on September 21, 2016.
28          38.     Exhibit DX-518 is a true and correct copy of excerpts from the transcript of the
                                                                  DECLARATION OF GRANT A. GEYERMAN
                                                     -3-                            15-CV-03504-YGR
            Case 4:15-cv-03504-YGR Document 301-2 Filed 06/20/17 Page 5 of 6



 1   Deposition of Robert Jenks that was taken on July 28, 2016.
 2          39.    Exhibit DX-519 is a true and correct copy of excerpts from the transcript of the
 3   Deposition of Onnolee Samuelson that was taken on August 19, 2016.
 4          40.    Exhibit DX-520 is a true and correct copy of excerpts from the transcript of the
 5   Deposition of Carl Washington that was taken on August 30, 2016.
 6          41.    Exhibit DX-521 is a true and correct copy of a spreadsheet titled June 2013 Active
 7   Plan List.xlsx and produced by CVS with Bates No. CVSC-0391363.
 8          42.    Exhibit DX-522 is a true and correct copy of a spreadsheet titled July 2013 Active
 9   Plan List.xlsx and produced by CVS with Bates No. CVSC-0391360.
10           B.     Plaintiffs’ Exhibits
11          43.    Exhibit PX-551 is a true and correct copy of the 2009 Medco Pharmacy Services
12   Manual, produced by CVS with Bates No. CVSC-0067922.
13          44.    Exhibit PX-615 is a true and correct copy of the 2010 Express Scripts Network
14   Provider Manual, produced by CVS with Bates No. CVSC-0328074.
15          45.    Exhibit PX-618 is a true and correct copy of the Declaration of Amber D. Compton
16   dated November 21, 2016.
17          46.    Exhibit PX-662 is a true and correct copy of the Declaration of G. William Strein
18   dated November 18, 2016.
19          47.    Exhibit PX-663 is a true and correct copy of the Declaration of Franceen
20   Spadaccino, RPh. Dated November 18, 2016.
21          48.    Exhibit PX-691 is a true and correct copy of the Declaration of Michael D.
22   Reichardt dated November 20, 2016.
23          49.    Exhibit PX-701 is a true and correct copy of the Declaration of John Lavin dated
24   November 18, 2016.
25          50.    Exhibit PX-703 is a true and correct copy of a document titled “Troubleshooting
26   Set Price Generic Programs,” produced by non-party Caremark with Bates No. Caremark-
27   0002102.
28
                                                                   DECLARATION OF GRANT A. GEYERMAN
                                                   -4-                              15-CV-03504-YGR
            Case 4:15-cv-03504-YGR Document 301-2 Filed 06/20/17 Page 6 of 6



 1          I declare under penalty of perjury that the foregoing is true and correct and that this
 2   Declaration was executed on June 20, 2017 in Washington, D.C.
 3
                                                        /s/ Grant A. Geyerman
 4                                                      Grant A. Geyerman
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                               DECLARATION OF GRANT A. GEYERMAN
                                                  -5-                             15-CV-03504-YGR
